 Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 1 of 26 Page ID #:9
A   lb.

;_:_t CT Corporation                                                             Service of Process
                                                                                 Transmittal
                                                                                 10/11/2018
                                                                                 CT Log Number 534210038
          TO:     Suzanne Helak
                  Stearns, Conrad And Schmidt, Consulting Engineers, Inc.
                  3900 Kilroy Airport Way, Suite 100
                  Long Beach, CA 90806

          RE:     Process Served in Texas

          FOR:    Stearns, Conrad And Schmidt, Consulting Engineers, Inc. (Domestic State: VA)




          ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

          TITLE OF ACTION:                  ISM INDUSTRIES, INC., PLTF. vs. STEARNS, CONRAD AND SCHMIDT CONSULTING
                                            ENGINEERS, INC., ETC., ET AL., DFTS.
          DOCUMENT(S) SERVED:               CITATION, PETITION, REQUESTS, ATTACHMENT
          COURT/AGENCY:                     128th Judicial District Court, Orange County, TX
                                            Case # Al 80382C
          NATURE OF ACTION:                 REQUESTS FOR DISCLOSURE PURSUANT TO RULE 194(see document for additional
                                            information)
          ON WHOM PROCESS WAS SERVED:       C T Corporation System, Dallas, TX
          DATE AND HOUR OF SERVICE:         By Certified Mail on 10/11/2018 postmarked on 10/08/2018
          JURISDICTION SERVED:              Texas
          APPEARANCE OR ANSWER DUE:         By 10:00 A. M. on the Monday next following the expiration of 20 days after you
                                            were served this citation and petition
          ATTORNEY(S) / SENDER(S):          JAMES F. WIMBERLEY
                                            LAW OFFICES OF JAMES WIMBERLEY
                                            221 S. Highway 69
                                            P.O. Box 1786
                                            Nederland, TX 77627
                                            409-853-4095
          ACTION ITEMS:                     SOP Papers with Transmittal, via UPS Next Day Air, 1ZX212780102833402

                                            Image SOP

                                            Email Notification, Suzanne Helak SHelak@SCSEngineers.com
                                            Email Notification, Thomas W.A. Barham tbarham@scsengineers.com

          SIGNED:                           C T Corporation System
          ADDRESS:                          1999 Bryan Street
                                            Suite 900
                                            Dallas, TX 75201
          TELEPHONE:                        214-932-3601




                                                                                 Page 1 of 1 / SC
                                                                                 Information displayed on this transmittal is for CT
                                                                                 Corporation's record keeping purposes only and is provided to
                                                                                 the recipient for quick reference. This information does not
                                                                                 constitute a legal opinion as to the nature of action, the
                                                                                 amount of damages, the answer date, or any information
                                                                                 contained in the documents themselves. Recipient is
                                                                                 responsible for interpreting said documents and for taking
                                                                                 appropriate action. Signatures on certified mail receipts
                                                                                 confirm receipt of package only, not contents.


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   Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 3 of 26 Page ID #:11


-CIVIL CITATION — CITCVWD

                                                THE STATE OF TEXAS

To:     Stearns, Conrad and Schmidt, Consulting Engineers, Inc.
        CT Corporation System
        1999 Bryan Street, Suite 900
        Dallas TX 75201

        Defendant, NOTICE:
        YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not file a written answer
with the clerk who issued this citation by 10:00 A. M. on the Monday next following the expiration of twenty days after
you were served this citation and petition, a default judgment may be taken against you.
        Said ANSWER may be filed with the District Clerk's Office, Orange County Courthouse, 801 W Division Ave,
Orange Texas 77630.

        Said               PLAINTIFF'S ORIGINAL PETITION

was filed and docketed in the Honorable 128th District Court of Orange County, Texas at the District Clerk's Office at
the Orange County Courthouse, 801 W Division Ave, Orange, Texas on October 1, 2018 in the following styled and
numbered cause:

Cause No: 180382-C

ISM Industries, Inc. VS. Stearns, Conrad and Schmidt, Consulting Engineers, Inc. et al

        The name and address of the attorney for plaintiff otherwise the address of Plaintiff is:
               James E Wimberley
               221 S. Highway 69
               Nederland TX 77627
        ISSUED AND GIVEN under my hand and seal of said Court at Orange, Texas, this October 1,2018.
                 ‘vott1tition1/4,
                0,,k0T Coco!**                                         VICKIE EDGERLY, District Clerk
                                  s                                    Orange County, Texas
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                                                         RETURN
         Came to hand on the          day of                      , 20       , at      o'clock       , M., and executed in
                         County, Texas, at        o'clock      .M., on the        day of                         , 20
by delivering, in accordance with the requirements of law, to the within named                                In person, a
true copy of this citation together with the accompanying copy of the petition, having first endorsed thereon the date of
delivery.
         And not executed as to the defendant
the diligence used to execute being
the cause of failure to execute is
the defendant may be found


TOTAL FEES:                                              BY:




                                                                                                                       R_003
      Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 4 of 26 Page ID #:12
                                                             CIVIL CASE INFORMATION SHEET                                               FILED: 10/1/2018 2:35 PM
                                                                                           128th                                        Vickie Edgerly, District Clerk
                                                           Al 80382-C                                       COURT (FOR CLERK USE ONLY): nransP County, Texas
         CAUSE NUMBER (FOR CLERK USE ONLY):
                                                                                                                                        Reviewed By: Brandi Bouley
                                                                                     STVLED
                                                        ISM Industries, Inc. vs.
                              Stearns, Conrad and Schmidt, Consulting Engineers, Inc. d/b/a SCS Energy,
                                    Mitchell Energy Services, LLC and Kilgore Industrial Civil, L.L.C.


A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment motion for modification or enforcement is filed in a family law case. The information should be the best available at the time of
filing. This sheet, approved by the Texas Judicial Council, is intended to collect information that will be used for statistical purposes only. It neither replaces nor
supplements the filings or service of pleading or other documents as required by law or rule. The sheet does not constitute a discovery request. response, or
supplementation, and it is not admissible at trial.

1. Contact information for person completing case information sheet:              Names of parties in case:                                      Person or entity completing sheet is:
                                                                                                                                               ElAttorney for Plaintiff/Petitioner
Name:                                     Email:                                  Plaintiff(s)/Petitioner(s):                                  :Pro Sc Plaintiff/Petitioner
James Wimberley                           jim(ii)iwimberley.com                                                                                0Title IV-D Agency
                                                                                  ISM Industries, Inc.                                         00ther
Address:                                  Telephone:
221 S. Highway 69                         409-853-4095                            Defendant(s)/Respondent(s):
                                                                                                                                               Additional Parties in Child Support Case:

City/State/Zip:                           Fax:                                    Stearns, Conrad and Schmidt,                                 Custodial Parent:
Nederland, TX 77627                       409-853-1462                            Consulting Engineers, Inc. d/b/a
                                                                                  SCS Energy, Mitchell Energy                                  Non-Custodial Parent:
Signature:                                State Bar No:
                                          .11,15111._
                                                 350
                                                                                  Services, LLC and Kilgore
                                                                                  Industrial Civil, L.L.C.                                     Presumed Father:

91I'jL-1/
                                                                                  'Attach additional page :Is necessary to list all parties]


2. Indicate case type, or identify the most important issue in the case (select    on! 1):
                                                   Civil                                                                                           Fan ily Law
                                                                                                                                                              Post-judgment Actions
             Contract                    Injury or Damage                    Real Property                            Marriage Relationship                      (non-Title IV-D)
Debt/Contract                        DAssault/Battery                   0Eminent Domain/                             D Annulment                           0Enforcement
   0Consumer/DTPA                    EIConstruction                       Condemnation                               o Declare Marriage Void               0Modification—Custody
   ODebt/Contract                    0Defamation                        OPartition                                   Divorce                               DModification—Othcr
   0Fraud/M isrepresentation         Malpractice                        DQuiet Title                                     ['With Children                           Title IV-D
   OOther Debt/Contract:               oAccounting                      ['Trespass to Try Title                          ON° Children                      0EnforcementiModification
     Breach of Contract                ElLegal                          ['Other Property:                                                                  OPaternity
Foreclosure                             ['Medical                                                                                                          DReciprocals (UIFSA)
   ['Home Equity—Expedited              00ther Professional                                                                                                OSupport Order
   oOther Foreclosure                      Liability:
['Franchise                                                                    Related to Criminal
                                     ['Motor Vehicle Accident
                                                                                     Matters                            Other Family Law                     Parent-Child Relationship
Olnsurance                           OPrernises
oLandlord/Tenant                     Product Liability                  DExpunction                                   O Enforce Foreign                    DAdoption/Adoption with
                                                                        0Judgment Nisi                                  Judgment                              Termination
ONon-Competition                       ['Asbestos/Silica
                                                                        ['Non-Disclosure                              0Habeas Corpus                       ['Child Protection
['Partnership                          ['Other Product Liability
00ther Contract:                           List Product:                oSeizure/Forfeiture                           EIName Change                        0Child Support
                                                                        owrit of Habeas Corpus—                       OProtective Order                    1:1Custody or Visitation
                                     ElOther Injury or Damage:             Pre-indictment                             D Removal of Disabilities            EIGestational Parenting
                                                                        DOther                                          of Minority                        D Grandparent Access
                                                                                                                      DOther                               El Paternity/Parentage
         Employment                                             Other Civil                                                                                0Termination of Parental
['Discrimination                      DAdministrative Appeal            ['Lawyer Discipline                                                                   Rights
Li Retaliation                        DAntitrust/Unfair                    Perpetuate Testimony                                                            D Other Parent-Child:
ElTermination                            Competition                    DSecurities/Stock
1JWorkers' Compensation               OCode Violations                  oTortious Interference
00ther Employment:                    oForeign Judgment                 DOther:
                                      ointellectual Property

                 Tax                                                                       Probate & Mental Health
 ['Tax Appraisal                      Probate/Wills/Intestate Administration                                  ['Guardianship—Adult
 DTax Delinquency                        ['Dependent Administration                                           O Guardianship—M i nor
 DOther Tax                              0Independent Administration                                          DMental Health
                                         11 Other Estate Proceedings                                          O 0ther:


3. Indicate procedure or remedy, if applicable (may select more than 1):
 DAppeal from Municipal or Justice Court                   Declaratory Judgment                                                   EJPrejudgment Remedy
 D Arbitration-related                                 0Garnishment                                                               OProtective Order
 O Attachment                                          DInterpleader                                                              oReceiver
 DBill of Review                                       0License                                                                   0Sequestration
 ['Certiorari                                               oMandamus                                                             ['Temporary Restraining Order/Injunction
 ['Class Action                                             OPost-judement                                                        0Turnover




                                                                                                                                                                                    R_004
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 5 of 26 Page ID #:13
                                                                                      FILED: 10/1/2018 2:35 PM
                                                                                      Vickie Edgerly, District Clerk
                                                                                      Orange County, Texas
                                                                                      Reviewed By: Brandi Bouley
                                      NO. A180382-C

  ISM INDUSTRIES, INC.                             §           IN THE DISTRICT COURT OF

                                                               128th
  VS.                                              §                    JUDICIAL DISTRICT

  STEARNS, CONRAD AND SCHMIDT,
  CONSULTING ENGINEERS, INC. d/b/a                 §           ORANGE COUNTY, TEXAS
  SCS ENERGY, MITCHELL ENERGY
  SERVICES, LLC, and KILGORE
  INDUSTRIAL CIVIL, L.L.C.

   PLAINTIFF'S ORIGINAL PETITION AND APPLICATION FOR DECLARATORY JUDGEMENT

  TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Plaintiff, ISM Industries, Inc., hereinafter referred to sometimes as "ISM"

  and files this its Original Petition and Application for Declaratory Judgment complaining of

  Stearns, Conrad and Schmidt, Consulting Engineers, Inc. d/b/a SCS Energy, Mitchell Energy

  Services, LLC and Kilgore Industrial Civil, L.L.C. ("Kilgore") and in support of said cause of action

  against said Defendants would show as follows.


                                        Amount in Controversy

         Plaintiff would show that the amount in controversy related to the instant cause of action

  is in excess of $1,000,000.00.


                                            Discovery Level

         Plaintiff, ISM, elects to complete discovery pursuant to Level III of the Texas Rules of Civil

  Procedure, including particularly Rule 190.4. Plaintiff would request that the Court, after

  appearance by all parties in this matter, allow the parties to jointly submit for approval by the

  Court, a proposed Docket Control Order setting appropriate deadlines and proposed trial date. In

  the absence of an agreed submission of a proposed Docket Control Order, Plaintiff would request

  that the Court issue its own Docket Control Order setting deadlines and trial dates in compliance

  with the rules.




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Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 6 of 26 Page ID #:14




                                                  III.
                                                Parties

         Plaintiff, ISM Industries, Inc., is a Texas corporation with its principle place of business

  located in Vidor, Orange County, Texas.

         Defendant, Stearns, Conrad and Schmidt, Consulting Engineers, Inc. sometimes d/b/a

  SOS Energy is a Virginia corporation organized under the laws of the State of Virginia and may

  be served with process by serving the Defendant through its Registered Agent, CT Corporation

  System at 1999 Bryan Street, Suite 900, Dallas, TX 75201.

         Defendant, Mitchell Energy Services, LLC (herein "Mitchell" and/or "Subcontractor No.1"),

  is a limited liability company organized under the laws of the State of Texas, with said entity

  headquartered in the State of Texas, and with said Defendant to be served by serving its

  registered agent, Brian Mitchell, at 139 Mid Tex Road, Lorena, Texas 76655.

         Defendant, Kilgore Industrial Civil, L.L.C. (herein "Kilgore" and/or "Subcontractor No. 2"),

  is a limited liability company, organized under the laws of the State of Texas, also headquartered

  in the State of Texas, with said entity/Defendant to be served by serving its registered agent Stuart

  Yoes, at 3535 Calder Avenue, Suite 235, Beaumont, Texas 77706.

                                                  IV.
                                                 Venue

         Plaintiff, ISM Industries, Inc., is an industrial services company providing fabrication,

  erection, capital construction and maintenance services for benefit of its customers, including

  primarily industrial customers primarily involved in the oil and gas, energy and related industries.

  ISM routinely provides services not only within the State of Texas but also, at request of its

  customers, including project owners, general contractors and design build contractors, and

  provides services outside of the State of Texas. Plaintiff, ISM, would show that it was contacted

  at its Vidor, Orange County, Texas offices by authorized representatives of the Defendant, SCS

  Energy, requesting that ISM provide bids for proposed fabrication and/or erection services of a

  new capital project being designed and constructed by SOS Energy for the benefit of its customer,


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Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 7 of 26 Page ID #:15




  the University of California (herein "University" and/or "Owner"). ISM prepared proposed bids

  related to the services requested by SCS Energy, including preparation of relevant bids at the

  Company's Vidor, Orange County, Texas offices. The bids were then forwarded by ISM, from its

  Vidor, Orange County, Texas offices to SCS Energy for review, comment and potential

  modification and/or enhancement. Ultimately, a bid acceptable to SCS Energy was prepared by

  ISM at its Vidor, Orange County, Texas offices, with same being finally submitted by ISM to SCS

  Energy for its review, consideration and approval. Upon approval of the bid, SCS Energy prepared

  its proposed subcontract, which proposed subcontract was submitted by SCS Energy to ISM at

  its Vidor, Orange County, Texas offices for review consideration and ultimate approval. The

  subject Subcontract Agreement was ultimately approved by ISM at its Vidor, Orange County,

  Texas offices and subsequent to same, the Company mobilized and commenced completion of

  the construction, fabrication and other services require not only under the original scope of work,

  but as also required incident to change requests submitted to or on behalf of SCS Energy related

  to the subject project. In order to complete the project, ISM also engaged the services of other

  subcontractors and vendors, including Kilgore and Mitchell, whose requests for proposals incident

  to assistance in completing ISM portion of the project were submitted by said subcontractors and

  vendors to ISM for approval at ISM's Vidor, Orange County, Texas facilities, with relevant

  purchase orders then being issued by ISM to its vendors and subcontractors from its Vidor,

  Orange County, Texas offices.

         As work was completed under the terms and conditions of the agreements entered into

  between ISM and SCS Energy, ISM would invoice SCS Energy from its Vidor, Orange County,

  Texas offices, with payments then being made by SCS Energy to ISM at its Vidor, Orange County,

  Texas offices. Further, as additional work was requested and/or demanded by SCS Energy, ISM

  would prepare proposed change orders and related documentation for consideration and approval

  by SCS Energy with said change order documentation being prepared by and ultimately approved

  by ISM at its Vidor, Orange County, Texas offices. The approvals and/or comments of said


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Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 8 of 26 Page ID #:16




  Change Order Requests, and where applicable, rejection and/or partial rejection by SCS Energy

  of said Change Order Requests were submitted by SCS Energy to ISM at its Vidor, Orange

  County, Texas offices, with the parties continuing negotiation and consideration of the pending,

  yet not finally approved, Change Order Requests submitted by ISM to SCS Energy.

         These disputed Change Orders included Change Requests related to work completed by

  not only ISM, but also by Subcontractors No. 1 and No. 2. Ultimately, the failure of SCS Energy

  to not only approve appropriate Change Order Requests submitted by ISM to SCS Energy, as

  well as the failure of SCS Energy to pay invoices due and owing to ISM, including not only invoices

  for the original contracts, but also invoices submitted for pending yet disputed Change Order

  Requests is the basis of the instant litigation. Plaintiff would show that a substantial portion of the

  claims and actions made the basis of the instant dispute occurred and/or arose in Orange County,

  Texas, including, without limitation, those detailed more particularly hereinabove. As such,

  pursuant to applicable provisions .of Texas Civil Practices and Remedies Code, Plaintiff would

  show that venue is proper in the District Court of Orange County, Texas.

                                                 V.
                                    Backgrounds Facts and Claims

         Plaintiff, ISM Industries, Inc., is a Texas based fabrication, erection, capital construction

  and maintenance/turn-around contractor providing fabrication, erection, construction and

  maintenance services for various industrial clientele, including, without limitation, industrial

  clientele primarily serving the oil and gas and energy industries throughout the United States. ISM

  is headquartered in Vidor, Orange County, Texas, with said headquarters not only including ISM's

  fabrication facilities, but also its corporate headquarters where (i) responses to bid requests

  and/or requests for proposals are prepared, negotiated and submitted by or on behalf of ISM, (ii)

  where project status reports and project billing reports are prepared by ISM and (iii) where ISM

  routinely provides and submits invoicing to its customers, with said invoicing requiring payment

  to ISM Orange County, Texas controlled facilities. While ISM, from time-to-time, contacts



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Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 9 of 26 Page ID #:17




  customers directly related to proposed projects, in most cases, ISM is solicited by customers to

  provide bid and/or responses to requests for proposals requested by said customers, with said

  bids and/or requests for proposals being prepared at ISM's Orange County, Texas facilities.

  Customers contacting ISM for submission of bids and/or responses to requests for proposals

  include not only owners of projects, but also general contractors, including both constructions

  related general contractors and design build general contractors, with those contacts being

  related to construction projects being proposed and/or controlled by said general contractor

  and/or design build contractors for the benefit of third-party owners of the proposed projects.

         ISM would show that it was contacted by authorized representatives of the Defendant,

  SCS Energy, requesting that ISM provides bids and/or responses to requests for proposals

  related to the providing of certain new capital construction and/or fabrication and erection services

  related to the construction of a portion of a new energy project being constructed, on a design-

  built basis, by SCS Energy for the benefit of its customer, The University of California. At the time

  of the contacts by SCS Energy to ISM, including the contacts requesting preparation of bids and/or

  responses to requests for proposal, SCS Energy, as the design build contractor for The University

  of California project (herein "Project"), had not completed all drawings and specifications for the

  Project and/or had not obtained final approval for the designs and specifications for the Project

  from its customer. Notwithstanding same, SCS Energy requested that ISM prepare its bids

  utilizing the partial and/or incomplete information made available to ISM, with the understanding

  that the bid submissions tendered by ISM were preliminary and subject to modification, including

  subject to likely modification, if not substantial modification, as the plans and specifications were

  finalized and as SCS Energy's customer, The University of California (herein "University)

  approved and/or modified the design, drawings and specifications for the Project, including,

  without limitation, completion and approval of designs, drawings and specifications related to the

  portion of the Project being completed by Plaintiff, ISM. In compliance with this request, ISM

  completed bids based upon preliminary and incomplete information provided by SCS Energy to


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Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 10 of 26 Page ID #:18




   ISM, which preliminary bids and the approval of same by SCS Energy ultimately resulted in the

   issuance of a Subcontract Agreement (herein "Subcontract" and/or "Agreement") being entered

   into by and between SCS Energy and ISM and resulted in the issuance of purchase orders and

   other agreement by ISM to its vendors and subcontractors, including Kilgore and Mitchell.

          The Subcontract Agreement entered into by and between Plaintiff ISM and Defendant

   SCS Energy included provisions detailing procedures for the approval of Change Orders and

   Change Order Requests as discovered and/or requested by ISM, including Change Order

   Requests related to additional field work requested by SCS Energy and/or its authorized

   representatives, additional change order related work related to modifications and/or additions to

   the scope of work originally proposed by SCS Energy to ISM and Change Order Requests related

   to modifications and/or amendments to the plans, specifications and drawings submitted by SCS

   Energy to ISM, including the temporary and/or bid specific drawings, specifications and plans,

   albeit incomplete, that were originally submitted by Defendant, SCS Energy to ISM incomplete

   plans and specs, which ultimately resulted in the original bid proposal submitted by ISM that

   resulted in issuance of the Subcontract Agreement. Further during the change process,

   authorized representatives of SCS Energy also dealt directly with ISM's vendors and

   subcontractors, including, without limitation, Subcontractor No. 1, Mitchell, and made

   representations and warranties to said parties related to the approval of future and related change

   order requests.

          In the interim, both before and while the Project was being completed, and while changes

   and/or modifications to the plans, drawings and specifications were being submitted by SCS

   Energy to ISM, ISM began retaining its subcontractors and vendors, including, without limitation,

   the Defendants Mitchell and Kilgore (herein "Subcontractor No. 1" and "Subcontractor No. 2").

   Said Subcontractors, in compliance with not only purchase orders issued by ISM to said

   Subcontractors, but also in reliance upon the plans, specifications and drawings submitted by

   SCS Energy, as well as representations made by said Defendant to the subcontractors, began


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Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 11 of 26 Page ID #:19




   providing products and services in completion of the Project, which products and services

   benefited not only SCS and its customer, The University, but also ISM. As the necessity for

   Change Order Requests were identified by ISM, including Change Order Requests related to not

   only field requested changes, modifications and/or additions to the scope of work, but also change

   orders necessitated by changes and/or amendments in the plans, specifications and drawings

   submitted by SCS Energy to ISM, ISM provided notice of same, where applicable to its vendors

   and subcontractors, including the Defendant Subcontractors. In fact, certain subcontractors were

   clearly aware that payments for additional work would be subject to and delayed by approvals for

   said change orders by SCS Energy, who in turn had made representations and warranties to not

   ISM, but also various subcontractors, related to the expected timely approval of pending change

   order requests.

          Such changes and modifications resulted in additional work being completed by the

   Subcontractors, including additional work and/or products authorized by ISM, which additional

   work and/or products was authorized by ISM to the Subcontractors in reliance upon

   representations and warranties made by SCS Energy that formal Change Order Requests would

   be approved by SCS Energy authorizing payment of additional funds to ISM, including additional

   funds that would be for the benefit of not only ISM, but also its vendors and subcontractors,

   including the Defendant Subcontractors. Notwithstanding those representations and warranties,

   as detailed hereinafter, SCS Energy ultimately failed and refused and still fails and refuses to

   approve properly submitted Change Order Requests submitted by or on behalf of Plaintiff ISM,

   including, but not limited to, Change Order Requests intended to compensate not only ISM for its

   additional products and services, but also to compensate ISM's vendors and subcontractors,

   including the Defendants Subcontractor No. 1 and Subcontractor No. 2.

          Plaintiff, ISM, would show that although the Defendant, SCS Energy wrongfully delayed

   approval and/or denied approval for substantial change orders for additional work completed by

   Plaintiff and its vendors and subcontractors, including Subcontractor No. 1 and Subcontractor No.


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Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 12 of 26 Page ID #:20




   2, and although final approved change orders were not timely issued by SCS Energy to ISM, ISM

   continued prosecution of the Project, including the providing of such additional services, outside

   of the original scope, and as mandated by the changes and specifications, drawings and plans,

   which completion of such additional work by ISM was mandated under the terms and conditions

   of the subject Subcontract Agreement. More particularly, the said agreement provides that

   although it is preferable that ISM obtain approved change orders before completing any

   additional work, the agreement also provides, and mandates, that in the event of a disagreement

   by and between the parties, including, without limitation, a disagreement as to the scope of any

   additional work and/or the cost and expense, as well as extension of the time associated with any

   additional work, ISM was obligated to continue to advance the Project despite the

   disagreement between the parties as to the definition of the scope and any pending, though

   disputed change orders, with the agreement further providing that the disputes would ultimately

   be resolved pursuant to dispute resolution procedures contained within the subject Subcontract

   Agreement.

          At the urging of not only SCS Energy's representatives directed to ISM, but also the

   representations and warranties made by SCS Energy to not only ISM but also its subcontractors

   and vendors, including, without limitation, Subcontractor No. 1 and Subcontractor No. 2, including

   representation of warranties that change orders would ultimately be approved and that further

   funds would be made available to pay not only ISM but also its subcontractors, including

   Subcontractors No. 1 and No. 2, ISM and its subcontractors continued to prosecute the

   completion of the Project, which Project has now been substantially complete although ISM and

   several of its subcontractors remain onsite completing final components of the Project as

   necessary to authorize the commencement of startup operations and ongoing general operations.

          Despite ISM's completion of its obligations under the terms and conditions of the

   Subcontract Agreement. Defendant SCS has failed and refused to approve pending subcontract

   request submitted by ISM, including the failure of SCS Energy to even negotiate in good faith


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Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 13 of 26 Page ID #:21




  related to the approval of said pending Change Order Requests, in addition to same, SCS Energy

  has further failed and refused to pay even the contracted sums, including the remaining sums due

  and owning under the original contract, all of which has apparently been intended by Defendant

  SCS Energy to place Plaintiff in a precarious economic condition such that Defendant SCS

  Energy could induce and/or attempt to induce Plaintiff ISM to accept "pennies on the dollar"

  related to the pending, yet approved, and clearly unpaid, Change Order Requests, as well as the

  funds due and owing to ISM by SCS Energy under the remaining, though unpaid, portion of the

  original contract and approved change orders that remain unpaid by SCS Energy.                Plaintiff,

  ISM would show that these acts and omissions on the part of SCS Energy have been a producing

  and/or approximate cause of certain substantial damages due and owing to Plaintiff for which

  Plaintiff herein sues. Pleading further, Plaintiff would further show that the acts and omissions of

  the Defendant, SCS, in failing to comply with its contractual obligations under the terms and

  conditions of the subcontract agreement have resulted in the subcontractor Defendants, including

  Subcontractor No. 1 and Subcontractor No. 2 making demands upon ISM for payment of sums

  due and owing to said subcontractors.

         Such demands were made even though said subcontractors were aware of the fact that

  these sums and ISM's ability to pay same, was subject to approval by Defendant SCS Energy of

  the properly submitted though improperly denied pending Change Order Requests, which has

  resulted in additional claims, though premature, being made by the Defendant Subcontractors,

  the payment of which and/or the obligation to pay is the basis of Plaintiffs request for Declaratory

  Judgment relief from the Court as to not only the nature and extent of the sums due and owing to

  the Defendant subcontractors, but also the obligation of Defendant SCS Energy to pay sums due

  and owing to ISM as necessary to allow ISM to pay said Defendant subcontractors.

         Plaintiff would show, in conclusion, that the acts and omissions of the Defendant SCS

  Energy, as well as the premature claims of the Defendant subcontractors have resulted in

  substantial damages to Plaintiff, ISM, far in excess of the minimum jurisdictional limits of this Court


                                                    9


                                                                                                             R_013
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 14 of 26 Page ID #:22




   for which Plaintiff herein sues and for which Plaintiff seeks Declaratory relief as detailed

   hereinabove and as detailed further hereinafter.

                                                 VI.
                          Breach of Contract Against Defendant SCS Energy

          Restating all previous allegations, Plaintiff ISM would show that it performed its obligation

   under the subcontract agreement entered into with Defendant SCS Energy and that

   notwithstanding said compliance and performance, Defendant SCS Energy has breached the

   contract by failing to remit timely and fully payment of the balance due and owing to Plaintiff ISM

   and a sum in excess of $1.2 Million dollars due and owing under the contract and due and owing

   related to the pending Change Order Requests properly submitted under the terms and conditions

   of the subject subcontract, all of which are properly due and payable to Plaintiff ISM for the

   services, labor and material ISM, its vendors and subcontractors provided to Defendant SCS and

   the Project as defined herein.

          As a result of the breach of the subcontract agreement, Plaintiff ISM would show that it

   sustained damages within the jurisdictional business Court and that all conditions proceeded have

   been performed and occurred as necessary to entitle ISM to recover its damages under the

   subcontract agreement.

          By way of additional plea and in the alternative, ISM further asserts that it and Defendant

   SCS Energy have entered into an implied in fact contract by way of the acts and conduct of ISM

   and Defendant SCS Energy and/or an implied in law contract where by the law imposes an

   obligation between the parties to do justice, i.e. to pay ISM (and its subcontractors) for the labor,

   materials, goods and services it and its vendors and subcontractors provided and which labor,

   materials, goods and services were accepted by and benefited the Defendant SCS Energy and

   its customer, the University. Plaintiff, ISM, would show that Defendant SCS Energy has breached

   the subcontract agreement with ISM causing damages to ISM in an amount in excess of

   $1,200,000.00 plus interest, attorneys fees and costs of Court for which they are entitled pursuant



                                                    10


                                                                                                           R_014
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 15 of 26 Page ID #:23




  to Texas Civil Practices and Remedies Code Section 38.001, et sync and Texas Rules of Civil

  Procedure 131 and 141, as well as any other applicable statute and/or common law.

                                               VII.
                     Second Cause of Action: Quantum Meruit/Unjust Enrichment

           Restating all previous allegations, as if fully set forth therein, and pleading alternatively,

  Plaintiff ISM would show that it seeks recovery from the Defendant SCS Energy for damages

  provided in Quantum Meruit in an amount that is more than $1 Million dollars. More particularly,

  Plaintiff ISM would show that as a direct result of ISM, its vendors and subcontractors providing

  labor, materials, goods and services to Defendant SCS Energy and its customer, the University,

  a benefit was conferred upon the Defendant SCS Energy and its customer, the University, with

   SCS Energy and the University willingly and know accepting ISM's labor, materials, goods and

   services after providing ISM reasonable expectation that there would be complete compensation

   payable to ISM.

           Plaintiff ISM would show that if ISM is not allowed to recover, ISM would not be completely

   compensated for the reasonable value of the labor, materials, goods and services provided and

   that the Defendant, SCS Energy (and its customer, the University), would be unjustly enriched

   and Plaintiff ISM would suffer a substantial loss. Plaintiff ISM would show the reasonable labor,

   materials, goods and services that remains to be paid is an amount of not less than $1 Million

   dollars and that ISM further seeks recovery of interest, attorneys' fees and costs of Court pursuant

   to Texas Civil Practices and Remedies Code Section 38.001, et sync and pursuant to Texas Rules

   of Civil Procedure Rule 131 and 141 and pursuant to any other applicable statute and/or common

   law.

                                                   VIII.
          Third Cause of Action: Violations of the Texas Prompt Pay Act and Claim for Interest

           Restating all previous allegations, as if incorporated herein, Plaintiff would show that ISM

   seeks recovery of damages as outlined in this pleading pursuant to Tex. Prop. Code Chapter 28,

   et sync known as the Texas Prompt Pay Act. More specifically, Plaintiff ISM would show that the


                                                     11


                                                                                                            R_015
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 16 of 26 Page ID #:24




  Texas Prompt Pay Act requires prompt payment to contractors, such as ISM, which Defendant

  SCS Energy has failed to do despite repeated false promises of payment made to ISM.

  Additionally, and more particularly, Plaintiff ISM would show that Defendant SCS Energy has not

  provided any excuse or reason it has refused to pay and that as a result of same, Defendant SCS

  Energy has violated the Texas Prompt Pay Act. More than thirty-five (35) days have passed since

  the Defendant has received a written payment request from Plaintiff ISM for amount said

  Defendant owes ISM under the subcontract agreement and incident to same and pursuant to the

  provisions to the Texas Prompt Pay Act, Plaintiff ISM is entitled to recovery from the Defendant

  SCS Energy statutory penalty interest at a rate of one and a half percent (1.5%) per month

  beginning on the thirty-sixth (36th) day after the Defendant SCS Energy received ISM's payment

  request on the principle sum.

         In the alternative, Plaintiff ISM seeks to recover from the Defendant SCS Energy interest

  on the principle sum due and owing to ISM in the approximate sum of $1,200,000.00 at the highest

  rate allowed by law as provided and authorized by the Texas Finance Code.


                                                 IX.
                                     Declaratory Judgement Act

         Restating all previous allegations, and pleading alternative, Plaintiff ISM would request

  that the Court, in compliance with Chapter 37 of the Texas Civil Practices and Remedies Code,

  more commonly known as the Texas Declaratory Judgment Act, (i) construe the relative rights of

  the parties under the terms and conditions of the Subcontract Agreement, the multiple change

  orders approved by Defendant SCS Energy, though unpaid to ISM and the multiple pending,

  thought unapproved and/or disputed Change Order Requests submitted by ISM to SCS Energy,

  including those submitted related to Mitchell and Kilgore, (ii) that the Court construe the

  obligations of ISM to Kilgore and Mitchell related to the additional work provided by said parties

  related to pending, though not yet approved change orders submitted to SCS Energy, (iii) that the

  Court construe that Defendant SCS Energy is obligated to pay sums due and owing to ISM under


                                                 12


                                                                                                       R_016
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 17 of 26 Page ID #:25




  the terms and conditions of the original subcontract agreement, (iv) that the Court construe that

  Defendant, SCS Energy, is obligated to pay ISM the reasonable and/or fair value of the products,

  services, materials and labor provided by ISM, its vendors and subcontractors to SCS Energy

  and its customer, the University, as reflected in the pending, though disputed and/or unapproved

  Change Order Requests, (v) that the Court construe the Change Order Requests and the timing

  of same as necessary to determine the reasonable time when the Change Order Requests should

  have been approved, (vi) that the Court construe the obligations of Defendant SCS Energy to pay

  not only the sums due and owing related to said pending, though disputed Change Order

  Requests, but also reasonable interest, as detailed hereinabove, from the date that the Change

  Order Requests should have been properly and timely approved by Defendant, SCS Energy, and

  (vii) that the Court, in compliance with this Declaratory Judgment Request, further award Plaintiff,

  ISM, its reasonable attorneys fees as further authorized by Chapter 37 of the Texas Civil Practices

  and Remedies Code.

                                                 X.
                            Attorneys Fees, Interests and Costs of Court

         Restating all previous allegations and pleading alternatively, Plaintiff would show that as

  a result of the acts and omissions of the Defendant, SCS Energy, detailed hereinabove, Plaintiff

  ISM has been caused to retain to undersigned counsel for the collection of the debts due and

  owing as described herein above, as has or will incur reasonable and necessary attorneys fees,

  expenses and costs of Court for the collection of the outstanding sums due and owing to ISM by

  the Defendant, SCS Energy, in amounts to be proven at the time of trial for which Plaintiff herein

  seeks recovery, with said attorneys fees, expenses and costs of Court being recoverable pursuant

  to not only Texas Civil Practices and Remedies Code Section 38.001 et sync, but also pursuant

  to Texas Property Code Section 53.156 and the Texas Rules of Civil Procedure Rule 131 and

  141. Plaintiff would show that attorney's fees and costs should be awarded for services rendered

  through and including and including the time of trial, any post trial motions and any appeals.



                                                  13


                                                                                                         R_017
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 18 of 26 Page ID #:26




                                                  Xl.
                                          Conditions Satisfied

          All conditions preceding have been performed, have occurred, or have been waived to

  entitle ISM to recover damages alleged herein.

                                                  XII.
                                           Rule 193.7 Notice

          Pursuant to Tex. R. Civ. P. 193.7, ISM hereby gives actual notice to all parties that any

  and all documents produced may be used against any and/or all parties producing the document

  at any pretrial proceeding and/or trial of this matter without the necessity of authenticating the

  document.

                                                 XIII.

                                 Rule 194 Requests for Disclosure

          Pursuant to Rule 194 of the Texas Rules of Civil Procedure, each Defendant are

  requested to respond to Rule 194 Disclosures, detailed hereinafter, and to supplement same in

   compliance with the rules.

          WHEREFORE, PREMISES CONSIDERED, for the reasons detailed hereinabove,

  Plaintiff, ISM Industries, Inc. prays that the Defendant, SCS Energy be cited to appear and answer

  herein, that the Plaintiff recover judgment for its actual damages to be previewed at the time of

  trial, statutory interests under the prompt payment statute, attorneys fees in the trial and appellate

  Courts, costs of Court any trial and appellate Courts, costs of sued, prejudgment and post

  judgement interests of the highest allowable rates and all other relief the Court deems appropriate;

  and in addition to the foregoing, Plaintiff, ISM requests that in addition to Defendant SCS Energy,

  that the Defendants Subcontractor No. 1 and Subcontractor No. 2 defined hereinabove be cited

  to appear herein, that upon final hearing the Court issue a Declaratory Judgment construing the

  relative rights of not only ISM but also the Defendants SCS Energy, Subcontractor No. 1 and

   Subcontractor No. 2 as requested hereinabove, that the Court issue appropriate Declaratory

   Judgment enforcing the rights of the parties, including the rights of ISM as pled hereinabove, that


                                                    14


                                                                                                           R_018
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 19 of 26 Page ID #:27




   the Court award ISM its reasonable attorney's fees pursuant to the Declaratory Judgment Act,

   and that the Court award ISM such other and further relief at law and in equity to which it may

   show itself justly entitled.

                                              Respectfully Submitted,

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                                               BY:
                                                     JAMES E. WIMBERLEY
                                                     Texas Bar No. 21750350

                                               ATTORNEYS FOR PLAINTIFF,
                                               ISM INDUSTRIES, INC.




                                                 15


                                                                                                     R_019
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 20 of 26 Page ID #:28




                   REQUESTS FOR DISCLOSURE PURSUANT TO RULE 194


  (a)    The correct names of the parties to the lawsuit;

  (b)    The name, address, and telephone number of any potential parties;

  (c)    The legal theories and, in general, the factual basis of the responding party's claims or
         defenses;

  (d)    The amount and method of calculating economic damages, if any;

   (e)   The name, address and telephone number of persons having knowledge of relevant facts,
         and a brief Statement of each identified person's connection with the case;

   (f)   For any testifying expert:

         (1)    The expert's name, address, and telephone number;

         (2)    The subject matter on which the expert will testify;

         (3)    The general substance of the expert's mental impressions and opinions and a brief
                summary of the basis for them, or if the expert is not retained by, employed by, or
                otherwise subject to the control of you or your client, documents reflecting such
                information;

         (4)    If the expert is retained by, employed by, or otherwise subject to the control of you
                or your client:

                (A)     All documents, tangible things, reports, models, or data compilations that
                        have been provided to, revealed by, or prepared by or for the expert in
                        anticipation of the expert's testimony; and

                (B)     The expert's current resume and bibliography;

         Any discoverable indemnity and insuring agreements;

         Any discoverable settlement agreements;

         Any discoverable witness Statements;

         All medical records and bills that are reasonably related to the injuries or damages
         asserted or, in lieu thereof, an authorization permitting disclosure of such medical records
         and bills;

   (k)   All medical records and bills obtained by the responding party by virtue of an authorization
         furnished by the requesting party.

   (I)   The name, address and telephone number of any person who may be designated as a
         responsible third party.



                                                  16


                                                                                                        R_020
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 21 of 26 Page ID #:29




                                                                               R_021
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 22 of 26 Page ID #:30




                                                                               R_022
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 23 of 26 Page ID #:31




                                                                               R_023
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 24 of 26 Page ID #:32




                                                                               R_024
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 25 of 26 Page ID #:33




                                                                               R_025
Case 2:19-cv-01134-JAK-JC Document 1-1 Filed 11/09/18 Page 26 of 26 Page ID #:34




                                                                               R_026
